         Case 1:19-cv-02835-DLF Document 2-2 Filed 10/07/19 Page 1 of 8



                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA

 American Immigration Lawyers
 Association,
 1331 G Street, NW Suite 300
 Washington, D.C. 20005-3142

 Parrilli Renison, LLC
 610 SW Broadway Suite 505
 Portland, Oregon 97205
                                                     Civil No.:
                  Plaintiffs,
    v.
 Kenneth Cuccinelli, in his Official
 Capacity, Acting Director, U.S.
 Citizenship and Immigration Services,
 c/o Office of the General Counsel
 245 Murray Lane, SW
 Mail Stop 0485
 Washington, DC 20528-0485
 U.S. Citizenship and Immigration
 Services;
 c/o Office of the General Counsel
 245 Murray Lane, SW
 Mail Stop 0485
 Washington, DC 20528-0485
              Defendants.




                     DECLARATION OF BRENT W. RENISON, ESQ.

I, Brent W. Renison, declare and state as follows:

   1. My name is Brent W. Renison and I am a member in good standing of the Oregon State

       Bar (OSB No. 964752). I am a partner and owner of the law firm Parrilli Renison LLC,

       doing business as ENTRYLAW®. I have been a member of the Oregon State Bar since



                                                1

                                             EXHIBIT A
     Case 1:19-cv-02835-DLF Document 2-2 Filed 10/07/19 Page 2 of 8



   1996 and have been practicing exclusively immigration law since 1997. I have been a

   member of the American Immigration Lawyers Association (“AILA”) since 1997.

2. Parrilli Renison LLC is a small business, with two partners and 8 staff, and practices solely

   in the area of immigration law. Parrilli Renison derives all its income from the provision

   of immigration legal services. Providing immigration legal services requires the collection

   of information on USCIS forms.

3. Parrilli Renison LLC has expended significant law firm time, including attorney and

   paralegal time, preparing forms for clients on Forms I-485, I-539, I-129, and I-864. Parrilli

   Renison LLC has been unable to obtain final versions of the new forms which are set to go

   into effect October 15. In order for current forms to be effective, these filings must be post

   marked October 14 or before. October 14 is a federal holiday, Columbus Day, and post

   offices and USCIS offices will be closed. Effectively, the latest post-mark acceptable for

   filing with current forms is Saturday, October 12.

4. Form I-485 is 18 pages long, with 43 pages of instructions. According to the Form I-485

   instructions, under the Paperwork Reduction Act, OMB estimates that the information

   collection for this form is 6 hours and 15 minutes. Parrilli Renison LLC spends many more

   hours than this preparing and filing these petitions.

5. Form I-129 is 36 pages long, with 29 pages of instructions. According to the Form I-129

   instructions, under the Paperwork Reduction Act, OMB estimates that the information

   collection for this form is more than 3 hours including the required supplements depending

   on nonimmigrant visa type selected. Parrilli Renison LLC spends many more hours than

   this preparing and filing these petitions.




                                                2

                                          EXHIBIT A
     Case 1:19-cv-02835-DLF Document 2-2 Filed 10/07/19 Page 3 of 8



6. Form I-539 is 7 pages long with 17 pages of instructions and Form I-864 is 10 pages with

   17 pages of instructions. According to the Form I-864 instructions, under the Paperwork

   Reduction Act, OMB estimates that the information collection for this form is 6 hours.

   Parrilli Renison LLC spends many more hours than this preparing and filing these petitions.

7. Parrilli Renison LLC, with its two attorneys and 8 staff, has expended hundreds of hours

   for many clients preparing filings using existing versions of these forms, and due to the

   collection burden, applicant's business travel schedules (applicants must be in the U.S. on

   the day of filing), and other factors, has invested tens of thousands of dollars in law firm

   time and energy into these petitions. Few of these applications and petitions will be ready

   to file before the effective date of the current forms, and Parrilli Renison LLC has been

   prevented from preparing filings for clients using the new forms because the new forms

   have not been issued.

8. Parrilli Renison LLC usually prepares I-485 applications, which also include Forms I-131

   and Form I-765, as well as Form I-864 for family based cases, over an average four to eight

   week period of time, and I-129 and I-539 combination cases over a four to six week period

   of time, coordinating information collection, supporting document collection, resolving

   legal issues, answering client questions about responses, researching and analyzing issues,

   preparing draft forms for client review, preparing finalized forms for client signatures,

   arranging for delivery, coordinating with clients about requirements for international travel

   and U.S. physical presence during filings, and completing the filing after receipt of

   necessary filing fee checks. There are many details which go into an immigration filing,

   and because USCIS requires technical perfection in filings and is unforgiving in its stance

   for errors, the time spent on filings is considerable.



                                              3

                                          EXHIBIT A
     Case 1:19-cv-02835-DLF Document 2-2 Filed 10/07/19 Page 4 of 8



9. Parrilli Renison LLC has been harmed by Defendants' failure to provide in a timely manner

   new forms which it has announced it will only accept on or after October 15, because

   Parrilli Renison LLC has relied upon Defendants' currently valid and publicly available

   forms for the past two months while the firm has prepared filings for its many clients.

10. Many benefits requested through the Forms I-485, I-129, I-539, and I-864 are time

   sensitive, and must be filed within a certain time. For example, I-485 applications along

   with I-864 applications can be filed only when priority dates (an immigrant’s place in line)

   remain available for filing, and those are limited month by month. When the dates change

   in November, no more filings will may be allowed, and our firm’s clients may lose

   important benefits due to a delay in switching to new forms preparation. I-129 and I-539

   applications must be filed in some cases before a person’s status expires. Delayed revised

   forms combined with the October 15 rejection date for current versions is threatening our

   clients’ immigration benefits, and our ability to represent our clients before the immigration

   agency. Additionally, our forms provider will not have sufficient time to utilize the new

   forms in time, and our firm will suffer from massive inefficiencies which drastically slow

   down our ability to act quickly enough for our clients.

11. As a partner in a two-person law firm, I have access to our firm’s financial details. I

   estimate the impact of Defendants’ delay to issue new forms, combined with their

   unreasonable deadline for using current forms to constitute a business loss to our firm of

   between $25,000 and $50,000. The variability will depend on how many cases we are lucky

   enough to file, given the multiple variables over the next 5 business days, combined with

   the somewhat unknowable amount of time we will require to digest, review, analyze and

   explain to our clients the new forms and prepare them competently, often under pressure



                                             4

                                         EXHIBIT A
     Case 1:19-cv-02835-DLF Document 2-2 Filed 10/07/19 Page 5 of 8



   because such filings may have become urgent filings at that point due to the loss of ability

   to use currently prepared forms. I expect that the thousands of other AILA member firms

   will suffer equally across the country, which could amount to many millions of dollars, if

   not tens of millions of dollars.

12. If Parrilli Renison LLC is required to comply with Defendants' announced deadline of

   October 15 to use the new forms that the agency has not even published yet, in this late

   hour, Parrilli Renison LLC will be unreasonably burdened by significant business income

   loss, and potential serious damage to its clients and their interests, which Parrilli Renison

   LLC is under ethical obligation to uphold, which could be entirely mitigated by the agency

   permitting current versions of the forms to be valid for a 60 day period following

   publication of final, publicly available new Forms I-129, I-485, I-539, and I-864.

13. To provide some examples, Parrilli Renison LLC represents several multi-national

   employers and numerous individuals with non-immigrant petitions and applications

   (Forms I-129 and I-539), as well as immigrant petitions and adjustment of status

   applications for “green cards” (Forms I-485 and I-864). We have nearly completed scores

   of these applications but are still managing the remaining details in order to file, and

   coordinating with individuals on their international business travel next week in order to

   enable us to file before the government’s self-imposed deadline for accepting the new, as

   yet nonexistent forms. One client is leaving the country Tuesday, and we are rushing to get

   her I-485 (as well as her husband’s and child’s) filed before she leaves and is not eligible

   until after the deadline to prepare completely new forms. I believe we will not be able to

   file that case and will have wasted more than 30 hours of combined paralegal and attorney

   time alone. Several other employees who can file adjustment of status have changed their



                                             5

                                         EXHIBIT A
     Case 1:19-cv-02835-DLF Document 2-2 Filed 10/07/19 Page 6 of 8



   flights, missing important business opportunities, to be in the country so we can file next

   week. We have multiple O-1 petitions (Form I-129 and I-539) for individuals of

   extraordinary ability nearly ready, but these often take 8 weeks to prepare, and we will not

   be ready to file them. There are many other cases like this in our office.

14. Pandemonium is the word that comes to mind when I think of our office procedures since

   this deadline was imposed, without providing us with new versions of forms to begin

   reviewing and preparing. I have had to authorize overtime for our staff, at expense to our

   small firm. Stress levels within our office have risen to extreme proportions and I worry

   that we will lose staff to illness. One of our paralegals has had to take time during the work

   day to attend a yoga class to alleviate some stress, taking her away from casework.

15. Our office has now begun to delay work on cases which will certainly not be finalized

   before the deadline, since we do not have new forms, and even if we were to have them

   soon it will take significant time for our forms provider to include these new forms into our

   existing databases. We use our outside forms provider, INSZoom, to complete forms based

   on questionnaires completed by clients, and if we were to need to manually enter

   information on forms it would increase our costs, and our fees to our clients, two or three

   fold. Either that, or due to existing fee agreements, our firm would spend two or three times

   the amount of time on cases, and receive the same payment, which is a business injury to

   our firm.

16. Once the agency finally publishes the revised forms, Parrilli Renison LLC will need to

   spend significant time reviewing, analyzing, and explaining the legal issues raised by the

   public charge rules embodied in the new forms and instructions (which we have not yet

   seen in final form), and we will need to have time to prepare new forms after consulting



                                             6

                                         EXHIBIT A
     Case 1:19-cv-02835-DLF Document 2-2 Filed 10/07/19 Page 7 of 8



   with our clients about the new information requested, the potential impact on their

   immigration situation, and the risks and benefits of proceeding. We cannot undertake this

   work competently in the limited time provided by the agency.

17. Even if the agency were to promptly publish new forms today (Friday October 4), or

   tomorrow, or in a few days, my judgment is that our legal work would be put behind by

   four to six weeks, which represents tens of thousands of dollars’ worth of law firm time

   and puts our clients in significant jeopardy of losing important benefits. We are a small law

   firm. AILA members comprise thousands of lawyers across the United States assisting

   their clients and the nation in this important work. The negative impact of Defendants’

   delay on immigration law firms, and their clients, is grave. This detrimental impact has

   been directly caused by the failure of Defendants to timely issue revised forms, and at the

   same time imposing a cut-off of effectively October 12 to postmark current forms before

   they are no longer accepted, despite current versions being the only forms available to the

   public as of October 4, 2019.

18. I visited the USCIS website today (www.uscis.gov) to check whether new forms have been

   issued for Form I-129, I-485, I-539, and I-864. As of October 4, 2019, the new forms are

   not available. Instead, the forms pages state that the current versions of the forms are in

   effect, and that “We will accept the current edition of this form if it is postmarked on or

   before October 14. We will not accept it if it is postmarked on or after October 15. The

   updated edition of the form. On or after October 15, we will accept only an updated edition

   that will be linked to this page.” There is no indication on the website as to when the forms

   “will be linked to this page.” I attach to this declaration EXHIBIT C, printouts that I




                                             7

                                         EXHIBIT A
         Case 1:19-cv-02835-DLF Document 2-2 Filed 10/07/19 Page 8 of 8



       obtained on October 4, 2019 showing the current state of forms availability and the

       announced cut-off for current forms.

   19. As of the date of this declaration, there are only 5 full business days left to use current

       versions of the form, and no revised forms are yet available. As it requires no less than 4

       weeks and at times 8 weeks to prepare these comprehensive and complex filings, it is

       unreasonable to expect even the most competent legal representatives to file all current

       cases within this deadline, and it is unreasonable to expect our collective law firms across

       the country, including our firm, to discard countless hours of work to shift to new forms

       without proper notice. I personally believe that I cannot competently represent businesses

       and individuals under these circumstances.

I declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge

and belief.


 Dated: October 4, 2019                              Respectfully submitted,



                                                     ___________________
                                                     Brent W. Renison
                                                     Oregon Bar No. 964752
                                                     brent@entrylaw.com
                                                     Parrilli Renison LLC
                                                     610 SW Broadway, Suite 505
                                                     Portland, OR 97205
                                                     Telephone: +1.503.597.7190
                                                     Facsimile: +1.503.726.0730




                                                 8

                                              EXHIBIT A
